AO 72A
(Rey. 8/82)

 

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Sun the United States District Court
Hor the Southern District of Georgia
Wapcross Division

ALBERTO LAFARGA CRUZ, *
*
Petitioner, * CIVIL ACTION NO.: 5:19-cv-86
*
Vv. *
*
TRACY JOHNS, *
*
Respondent. *
ORDER

After an independent and de novo review of the entire
record, the Court concurs with the Magistrate Judge’s Report and
Recommendation. Dkt. No. 22. Petitioner Alberto Cruz (“Cruz”)
did not file Objections to this Report and Recommendation. In
fact, this Court’s Report and Recommendation was returned as
undeliverable, with the notations: “Not Deliverable as
Addressed, Unable to Forward.” Dkt. No. 23.

Accordingly, the Court ADOPTS the Magistrate Judge’s Report
and Recommendation as the opinion of the Court, DISMISSES
without prejudice Cruz’s 28 U.S.C. § 2241 Petition, DENIES as

moot Respondent’s Motion to Dismiss, DIRECTS the Clerk of Court

 
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to CLOSE this case and enter the appropriate judgment of

dismissal, and DENIES Cruz in forma pauperis status on appeal.

SO ORDERED, this 2 day of Ty ee , 2020.

 

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ED STATES DISTRICT COYRT

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